Case 22-11068-KBO    Doc 31148-3     Filed 07/02/25      Page 1 of 3




                         EXHIBIT B

          Potentially Restricted Foreign Jurisdictions
           Case 22-11068-KBO       Doc 31148-3     Filed 07/02/25      Page 2 of 3




                        Potentially Restricted Foreign Jurisdictions



Afghanistan
Algeria
Andorra
Aruba
Bangladesh
Belarus
Burundi
Cambodia
Cameroon
Chad
China
Colombia
Democratic Republic of the Congo
Republic of the Congo
Cuba
Curacao
Egypt
Ethiopia
Fiji
Gabon
Guernsey
Honduras
Iran
Iraq
Jordan
Kuwait
Lebanon
Lesotho
Libya
Macau
           Case 22-11068-KBO   Doc 31148-3   Filed 07/02/25   Page 3 of 3




Malawi
Maldives
Moldova
Montenegro
Morocco
Myanmar (Burma)
Nepal
North Korea
Pakistan
Qatar
Russia
Rwanda
Saudi Arabia
Somalia
Sudan
Syria
Tunisia
Ukraine
Zimbabwe




                                      -2-
